       Case 1:21-mc-00004-TWP-MJD Document 1-1 Filed 01/19/21 Page 1 of 25 PageID #: 22

AO 118B (Rev. 02/14) Subpoena to Produce Documentll, Inibmiation. or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                              District of South Carolina
                          Brian Bowen, II
                                                                                )
                               Plaintiff                                        )
                                   v.                                           )       Civil Action No. 3:18-cv-3118-JFA
                                                                                )
                  adidas America, Inc., et al.                                  )
                              Defendant                                         )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIl.. ACTION
                            Pacers Basketball, LLC -ATTN: Kevin Bower and/or Custodian of Records
 To:
                                    125 S. Pennsylvania St, Ste. 600, Indianapolis, IN 46204
                                                        (Name ofperson to whom thia subpoena is directed)

    ft!l Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
             See Attachment A for definitions, Instructions, and requests for production


  Place:         . en        ta                                                          Date and Time:
           lndianapoHs, IN 46204
                                                                                                               01/04/2021 5:00 pm
                  See Attachment A for instructions

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.


                                                                                       l°""'m,d~
       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 4S(c), relating to the place of compliance;
Rule 4S(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:        11/20/2020

                                   CLERK OF COURT
                                                                                             OR

                                           Signature ofClerk or Deputy Clerk                                           Attorney's 8ignatw'e


 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
adidas America, Inc.                                                     , who issues or requests this subpoena, are:
Matthew T. Richardson, Esg., WYche, P.A., 807 Gervais St, Ste. 301, Columbia, SC 29201, mricha~che.com,
(SOS) 254-8542
                               Notice to the person who isslles or reqaests this sllhpoena
If this subpoena commands the production of documents, electronically stored information, or tangi"ble things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 4S(a)(4).
                                                                       EXHIBIT A
        Case 1:21-mc-00004-TWP-MJD Document 1-1 Filed 01/19/21 Page 2 of 25 PageID #: 23

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:18-cv-3118-JFA

                                                      PROOF OF SERVICE
                     (This section shoultl not be filed with the court unless required by Fed. R. Civ. P. 45.)

           I received this subpoena for (name ofindividual and title, ifany)
on(date)


           □   I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

           □   I returned the subpoena unexecuted because:


           Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
           tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
           $

My fees are$                                       for travel and $                             for services, for a total of$                 0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address


Additional information regarding attempted service, etc.:
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A0,88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit lnspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Proeedure 45 (e), (d), (e), and (g) (Effective 12/1/13)
(e) Place ofCompUaaee.                                                                 (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occummces in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial. hearing, or deposition only as follows:                    (               Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or                            Rule 4S(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena. order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person. ifthe person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties In Responding to a Snbpoena.
  (2) For Otlutr IJlsemery. A subpoena may command:
   (A) production of documents. electronically stored information, or              (1) Protlucmg 1>ot::wnents or Electronlelllly Storetl I11ft11'11U1tio11. These
tangi'ble things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or e1ectronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person                    a subpoena to produce documents
                                                                                  must produce them as they are kept           ordinary course ofbusiness or
(d) Proteetlng a Person Subject to a Snbpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specifted.
 (l)AWlltling Ullllue Blll'll,m or Expe,,se; Sanction. A party or attorney        1fa subpoena does not specify a form for producing electronically stored
responst'ble for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fee&..-.on a party or attorney who        information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of e1ectronically stored information
 (2) O,,,,ma,ul to Plwllt:e Mllterlals or Permit IllllpeCtion.                    from sources that the person identifies as not reasonably aecessible because
  (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, e1ectronically stored information, or tangl'ble things, or to          order, the                .    DUSI, shc.w that the information is not
permit the inspection ofpremises, need not appear in person at the place of                                       of undue burden or cost. lf that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such soun:es ifthe
hearing, or trial.                                                                                 shows good cause, considering the limitations of Rule
   (B) Objeclitma. A person commanded to produce documents or tangl'ble                         The court may specify conditions for the discovery.
 -                    inspection may serve on the party or attorney designated
                   a wriUma objection to inspecting, copying, testing. or        (2) Cllllmlng Pmilege or Proteelltm.
sampling any or all of the materials or to inspecting the premises-or to           (A) Information Withheld. A person wiflmolding subpoenaed information
producing electronieally stored information in the form or forms requested.      under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for        material must:
compliance or 14 days after the subpoena is served. If an objection is made,         (i) expressly make the claim; and
the following rules apply:                                                           (ii) descn'be the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person. the serving party       tangl'ble things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an          privileged or protected, will enable the parties to assess the claim.
               · production or inspection.                                         (B) Information Produced. If information produced in response to a
                 acts may be required only as directed in the order, and the     subpoena is subject to a claim ofprivilege or of
order must protect a person who is neither a party nor a party's officer from    trial-preparation material. the person making                  notify any party
significant expense resulting from compliance.                                   that received the information of the claim and the basis for it. After ·
                                                                                 notified, a party must promptly return, sequester, or destroy
 (3) (!,,ashing or Motllf.,lng a Su/Jpotmtl.                                     information and any copies it has; must not use or disclose
   (A.) fien Required. On timely motion, the court for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that                      information ifthe party disclosed it before being notified; and may promptly
     (I) fails to allow a reasonable time to comply;                             present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits             compliance is required for a determination of the claim. The person who
specified in Rule 4S(c);                                                         produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) fien Penni                     a person subject to or affected by a         The court for the district where compliance is required-and also, after a
subpoena, the court for               where compliance is required may, on        motion is transferred, the issuing court-may bold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it
development. or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 4S(a) Committee Note (2013).
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                             IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                      COLUMBIA DMSION


     Brian Bowen, II,
                                                                CIA No.: 3:18-3118-JFA
                          Plaintiff,

     v.
                                                            CONFIDENTIALITY ORDER
    Adidas America, Inc., James Gatto, Merl
    Code, Christian Dawkins, Munish Sood,
    Thomas Gassnola, and Christopher Rivers,

                           Defendants.

     v.
     Brian Bowen Sr.

                           Crossdefendant.


            Whereas parties to this action agree that certain discovery material should be treated as

     confidential, and have requested that the court enter a confidentiality order; and whereas the

     Court has determined that the terms set forth herein are appropriate to protect the respective

     interests of the parties, the public, and the Court; accordingly, it is this 25 day of September,

     2020, ORDERED:

            1.     Seope. All documents produced in the course of discovery, all responses to

     discovery requests and all deposition testimony and deposition exhibits and any other materials

     which may be subject to discovery (hereinafter collectively "documents") shall be subject to this

     Order concerning confidential information as set forth below.

            2.      Form and Timing of Designation.           Confidential documents shall be so

     designated by placing or affixing the word "CONFIDENTIAL'' on the document in a manner

     which will not interfere with the legibility of the document and which will permit complete


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    removal of the Confidential designation. Documents shall be designated CONFIDENTIAL prior

    to, or contemporaneously with, the production or disclosure of the documents. Inadvertent or

     unintentional production of documents without prior designation as confidential shall not be

     deemed a waiver, in whole or in part, of the right to designate documents as confidential as

    otherwise allowed by this Order.

             3.      Documents Which May be Designated Confidential. Any party may designate

    documents as confidential but only after review of the documents by an attorney 1 who has, in

     good faith, determined that the documents contain information protected from disclosure by

     statute, sensitive personal infonnation, trade secrets, or confidential research, development, or

     commercial information. The certification shall be made concurrently with the disclosure of the

     documents, using the form attached hereto at Attachment A which shall be executed subject to

     the standards of Rule 11 of the Federal Rules of Civil Procedure. Infonnation or documents

     which are available in the public sector may not be designated as confidential. A document

     produced to governmental entities in the course of an investigation may be designated as

     CONFIDENTIAL provided it otherwise meets the requirement of this paragraph.

             4.      Depositions.     Portions of depositions shall be deemed confidential only if

     designated as such when the deposition is taken or within ten business days after receipt of the

     transcript. Such designation shall be specific as to the portions to be protected. However, until

     the ten day period after receipt of the deposition transcript has expired, all depositions shall be

     treated as confidential, in their entirety.

             5.      Protection of Confidential Material.


     1
       The attorney who reviews the documents and certifies them to be CONFIDENTIAL must be
     admitted to the Bar of at least one state but need not be admitted to practice in the District of
     South Carolina and need not apply for pro hac vice admission. By signing the certification,
     counsel submits to the jurisdiction of this court in regard to the certification.

                                                     2
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          a.     General Protections. Documents designated CONFIDENTIAL under this Order

          shall not be used or disclosed by the parties or counsel for the parties or any other persons

          identified below (1 5.b.) for any purposes whatsoever other than preparing for and

          conducting the litigation in which the documents were disclosed (including any appeal of

          that litigation). The parties shall not disclose documents designated as confidential to

          putative class members not named as plaintiffs in putative class litigation unless and until

          one or more classes have been certified. Notwithstanding the above, nothing in this order

          prevents a party from using or disclosing its own documents, confidential or otherwise.

          b.     Limited Third Party Disclosures. The parties and counsel for the parties shall

          not disclose or permit the disclosure of any documents designated CONFIDENTIAL

          under the terms of this Order to any other person or entity except as set forth in

          subparagraphs (l )-(8) below.     Disclosure may only be made to a person or entity

          identified in subparagraphs (3)-(8) below only after the person to whom disclosure is to

          be made has executed an acknowledgment (in the form set forth at Attachment B hereto),

          that he or she has read and understands the terms of this Order and is bound by it.

          Subject to these requirements, the following categories of persons may be allowed to

          review documents which have been designated CONFIDENTIAL pursuant to this Order:

                 (1)     counsel and employees of counsel for the parties who have responsibility

                 for the preparation and trial of the lawsuit;

                 (2)     parties and employees of a party to this Order;

                 (3)     court reporters engaged for depositions and those persons, if any,

                 specifically engaged for the limited purpose of making photocopies of documents;




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                 (4)     consultants, investigators, or experts (hereinafter referred to collectively as

                 "experts") employed by the parties or counsel for the parties to assist in the

                 preparation and trial of the lawsuit;

                 (5)     mock jury participants;

                 (6)     any mediator mutually agreed to by the parties or appointed by the court to

                 assist in settlement discussions;

                 (7)     graphics, translation, design, and litigation support vendors employed or

                 retained by the parties or counsel for the parties to assist in the preparation and

                 trial of this lawsuit; and

                 (8)     other persons only upon consent of the producing party or upon order of

                 the court and on such conditions as are agreed to or ordered.

          c.     Centrol of Documents. Counsel for the parties shall take reasonable efforts to

          prevent unauthorized disclosure of documents designated as Confidential pursuant to the

          terms of this order.     Counsel shall maintain a record of those persons, including

          employees of counsel, who have reviewed or been given access to the documents along

          with the originals of the forms signed by those persons acknowledging their obligations

          under this Order.

          c.     Receipt ef Subpoena or Order fer Documents. If a party receives a subpoena,

          order or other process ("subpoena or order'') from any person, entity, court, or

          government, demanding production of documents designated as CONFIDENTIAL

          pursuant to this Order, the recipient of the subpoena or order shall promptly give notice

          of it by electronic mail transmission (email), followed by either express mail or overnight

          delivery (at the producing party's expense), to counsel for the producing party, with a

          copy of the subpoena or order. Upon receipt of this notice, the producing party may, in


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            its sole discretion and at its own cost, move to quash or limit the subpoena or order,

            otherwise oppose production of the documents designed as CONFIDENTIAL, and/or

            seek to obtain confidential treatment of the documents from the subpoenaing or ordering

            person or entity. The recipient of the subpoena or order may not produce any documents

            designated as CONFIDENTIAL pursuant to this Order in response to the subpoena or

            order prior to the date specified for production in the subpoena or order, to allow the

            producing party sufficient opportunity to move to quash or limit the subpoena or order

            should the producing party decide to take such course of action.

            d.     Coples. All copies, duplicates, extracts, summaries or descriptions (hereinafter

            referred to collectively as "copies''), of documents designated as Confidential under this

            Order or any portion of such a document, shall be immediately affixed with the

            designation "CONFIDENTIAL" if the word does not already appear on the copy. All

            such copies shall be afforded the full protection of this Order.

            6.     Filing of Confidential Materials. In the event a party seeks to file any material

     that is subject to protection under this Order with the court, that party shall take appropriate

     action to ensure that the documents receive proper protection from public disclosure including:

     (1) filing a redacted document with the consent of the party who designated the document as

     confidential; (2) where appropriate (e.g. in relation to discovery and evidentiary motions),

     submitting the documents solely for in camera review; or (3) where the preceding measures are

     not adequate, seeking permission to file the document under seal pursuant to the procedural steps

     set forth in Local Civil Rule 5.03, DSC, or such other rule or procedure as may apply in the

     relevant jurisdiction. Absent extraordinary circumstances making prior consultation impractical

     or inappropriate, the party seeking to submit the document to the court shall first consult with

     counsel for the party who designated the document as confidential to determine if some measure


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    less restrictive than filing the document under seal may serve to provide adequate protection.

    This duty exists irrespective of the duty to consult on the underlying motion. Nothing in this

    Order shall be construed as a prior directive to the Clerk of Court to allow any document be filed

    under seal.   The parties understand that documents may be filed under seal only with the

    permission of the court after proper motion pursuant to Local Civil Rule 5 .03.

           7.      Greater Protection of Specific Documents. No party may withhold information

    from discovery on the ground that it requires protection greater than that afforded by this Order

    unless the party moves for an Order providing such special protection.

           8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

    is subject to challenge. The following procedures shall apply to any such challenge.

           a.      The burden of proving the necessity of a Confidential designation remains with

           the party asserting confidentiality.

           b.      A party who contends that documents designated CONFIDENTIAL are not

           entitled to confidential treatment shall give written notice to the party who affixed the

           designation of the specific basis for the challenge. The party who so designated the

           documents shall have fifteen (15) days from service of the written notice to determine if

           the dispute can be resolved without judicial intervention and, if not, to move for an Order

           confirming the Confidential designation.

           c.      Notwithstanding any challenge to the designation of documents as confidential,

           all material previously designated CONFIDENTIAL shall continue to be treated as

           subject to the full protections of this Order until one of the following occurs:

                   (1)    the party who claims that the documents are confidential withdraws such

                   designation in writing;




                                                      6
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                  (2)     the party who claims that the documents are confidential fails to move

                  timely for an Order designating the documents as confidential as set forth in

                  paragraph 8.b. above; or

                  (3)     the court rules that the documents should no longer be designated as

                  confidential information.

           d.     Challenges to the confidentiality of documents may be made at any time and are

           not waived by the failure to raise the challenge at the time of initial disclosure or

           designation.

           9.     Treatment on Condusion of Litigation.

           a.     Order Remains in Effect. All provisions of this Order restricting the use of

           documents designated CONFIDENTIAL shall continue to be binding after the conclusion

           of the litigation unless otherwise agreed or ordered.

           b.     Return of CONFIDENTIAL Documents. Within thirty (30) days after the

           conclusion of the litigation, including conclusion of any appeal, all documents treated as

           confidential under this Order, including copies as defined above (15.d.) shall be returned

           to the producing party unless: (1) the document has been entered as evidence or filed

           (unless introduced or filed under seal); (2) the parties stipulate to destruction in lieu of

           return; or (3) as to documents containing the notations, summations, or other mental

           impressions of the receiving party, that party elects destruction. Notwithstanding the

           above requirements to return or destroy documents, counsel may retain attorney work

           product including an index which refers or relates to information designated

           CONFIDENTIAL so long as that work product does not duplicate verbatim substantial

           portions of the text of confidential documents.         This work product continues to be

           Confidential under the terms of this Order. An attorney may use his or her work product


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            in a subsequent litigation provided that its use does not disclose the confidential

            documents.

            10.     Order Subject to Modification. This Order shall be subject to modification on

     motion of any party or any other person who may show an adequate interest in the matter to

     intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

     however, be modified until the parties shall have been given notice and an opportunity to be

     heard on the proposed modification.

            11.     Non-Parties. Any documents that may be produced by a non-party witness in

     discovery pursuant to subpoena or otherwise may be designated by such non-party as

     "CONFIDENTIAL" under the terms of the Confidentiality Order, and any such designation by a

     non-party shall have the same force and effect, and create the same duties and obligations, as if

     made by one of the parties. Any such designation shall also function as a consent by such

     producing party to the authority of the court in the proceeding to resolve and conclusively

     determine any motion or other application made by any person or party with respect to such

     designation, or any other matter otherwise arising under this Confidentiality Order.

            12.     No Judicial Determination. This Order is entered based on the representations

     and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

     be construed or presented as a judicial determination that any specific document or item of

     information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

     of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific

     ruling shall have been made.

            13.     Inadvertent Production of Privileged Documents or Information; Nonwaiver.

     When a producing party gives notice to the receiving parties that certain inadvertently produced

     documents or information are subject to a claim of privilege or other protection (including,


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     without limitation, the attorney-client privilege and the attorney-work product doctrine), the

     receiving parties must promptly return or destroy the specified information and any copies it has;

     must not use or disclose the information until the claim is resolved; and must take reasonable

     steps to retrieve the information if the party disclosed it before being notified. Any privilege or

     other protection that may have been raised in documents or information produced in this

     litigation is not waived as a result of the inadvertent disclosure of those documents in connection

     with this litigation.   The fact of production of privileged or work product information or

     documents by any producing party in this litigation shall not be used as a basis for arguing that a

     claim of privilege or work product has been waived in any other proceeding, provided that such

     production was inadvertent and the claim of inadvertent production was raised with reasonable

     promptness. Without limiting the foregoing, this Order shall not affect the parties' legal rights to

     assert privilege or work product claims over documents in any other proceeding.

            Nothing in this Order shall prejudice the right of any party to challenge a producing party's

     claim that a document is privileged or to preclude any party from requesting the court to determine

     whether a document is privileged. If the receiving party challenges a privilege claim, the receiving

     party may submit the documents to the Court for      in camera review or use the "sealed document"

     option under the court's electronic filing instructions (referenced in Section 6 above, which also

     requires submitting the documents for in camera review that are requested to be sealed) for a

     determination of the claim of privilege. If a privilege claim is challenged and the Court determines

     the documents or some portion of them are not protected from discovery by a privilege or other

     protection, but the documents are nonetheless Confidential, the documents will be maintained as

     confidential under this Order.




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            14.     Persons Bound. This Order shall take effect when entered and shall be binding

     upon all counsel in this action and their respective law firms and clients.

     IT IS SO ORDERED.


     September 25, 2020                                    Joseph F. Anderson, Jr.
     Columbia, South Carolina                              United States District Judge
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                                           ATTACHMENT A

                        CERTIFICATION BY COUNSEL OF DESIGNATION
                            OF INFORMATION AS CONFIDENTIAL

                             IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                      COLUMBIA DMSION


     Brian Bowen, II,
                                                                 C/A No.: 3:18-3118-JFA
                           Plaintiff,

     v.
                                                          Certification by Coansel of Designation
     Adidas America, Inc., James Gatto, Merl                  of Information as Confidential
     Code, Christian Dawkins, Munish Sood,
     Thomas Gassnola, and Christopher Rivers,

                           Defendants.

     v.

     Brian Bowen Sr.

                           Crossdefendant.

            Documents produced herewith [whose bates nambers are listed below (or) which are
     listed on the attached index) have been marked as CONFIDENTIAL subject to the
     Confidentiality Order entered in this action which Order is dated [confidentiality order date].

            By signing below, I am certifying that (l) I have been involved in the process by which
     documents have been reviewed and produced in this litigation; (2) I have instructed all document
     reviewers on the requirements of the Confidentiality Order and have directed them to mark
     documents as confidential only if they are properly subject to protection under the terms of
     Paragraph 3 of the Confidentiality Order in the form that was in effect at the time of the review;
     and (3) the confidentiality markings made by the reviewers constitute a certification that they
     have been done in accordance with those terms.

            Check and complete one of the two options below.

            □       I am a member of the Bar of the United States District Court for the District of
                    South Carolina. My District Court Bar number is [District Court Bar#].

            □       I am not a member of the Bar of the United States District Court for the District of
                    South Carolina but am admitted to the bar of one or more states. The state in
                    which I conduct the majority of my practice is [state in which I practice most]
                                                     11
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                   where my Bar number is [that state's Bar#]. I understand that by completing this
                   certification I am submitting to the jurisdiction of the United States District Court
                   for the District of South Carolina as to any matter relating to this certification


     Date: [date attachment A signed]                           [Signature of Counsel [s/namell
                                                                Signature of Counsel

                                                                (Printed Name of Counsel [All
                                                                Printed Name of Counsel




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                                             ATTACHMENTB

                           ACKNOWLEDGMENT OF UNDERSTANDING
                                        AND
                                AGREEMENT TO BE BOUND

                             IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                      COLUMBIA DIVISION


     Brian Bowen, II,
                                                                  CIA No.: 3:18-3118-JFA
                           Plaintiff,

     v.
                                                           Acknowledgment of Undentanding
     Adidas America, Inc., James Gatto, Merl                  and Agreement to be Bound
     Code, Christian Dawkins, Munish Sood,
     Thomas Gassnola, and Christopher Rivers,

                           Defendants.

     v.
     Brian Bowen Sr.

                           Crossdefendant.



     The undersigned hereby acknowledges that he or she has read the Confidentiality Order dated
     [confidentiality order date], in the above captioned action, understands the terms thereof, and
     agrees to be bound by such terms. The undersigned submits to the jurisdiction of the United
     States District Court for the District of South Carolina in matters relating to the Confidentiality
     Order and understands that the terms of said Order obligate him/her to use discovery materials
     designated CONFIDENTIAL solely for the purposes of the above-captioned action, and not to
     disclose any such confidential information to any other person, firm or concern.




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     The undersigned acknowledges that violation of the Stipulated Confidentiality Order may result
     in penalties for contempt of court.

                   Name:                 [undersigned name [att BJ]
                   Job Title:            [Job Title [att Bl]
                   Employer:             [Employer [att Bl]
                   Business Address:     [Business Address [att BJ]


     Date: [date attachment B signed)                          [Signature [attachment Bl]
                                                               Signature




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              ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS
                     ISSUED TO PACERS BASKETBALL, LLC


         Defendant adidas America, Inc. ("adidas"), by its undersigned attorneys, hereby

 subpoenas Pacers Basketball, LLC to produce the documents, electronically stored information

 ("ESP'), and things requested herein for examination, inspection, and copying, pursuant to Rules

 26, 34, and 45 of the Federal Rules of Civil Procedure and all applicable local rules, by

 delivering such electronically by secure File Transfer Protocol ("FTP"), or a mutually agreeable

 alternative, to Matthew Richardson, Esq. (mrichardson@wyche.com) by the date and time listed

 on the subpoena.


                              DEFINITIONS AND INSTRUCTIONS

         1.      Except as otherwise specified, these definitions and instructions incorporate by

 reference the definitions and instructions set forth in Rules 26, 34, and 45 of the Federal Rules of

 Civil Procedure. Any term not defined should be accorded its ordinary dictionary definition.

         2.      AD/Any/Each. The terms "all,t' "any," and "each" shall each be construed as

 encompassing any and all.

         3.      And/Or. The connectives "and" and "or" shall be construed either disjunctively

 or conjunctively as necessary to bring within the scope of the discovery request all responses that

 might otherwise be construed to be outside of its scope.

         4.      Bowen Jr. The term "Bowen Jr." refers to Plaintiff Brian Bowen, Il.

         5.      College. The term "college" refers to any institution providing post-secondary

  school education.

         6.      Concerning. The term "concerning" means relating to, referring to, describing,

  mentioning, pertaining to, connected with, created in connection with or as a result of,



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 commenting on, embodying, evaluating, analyzing, or evidencing or constituting, whether in

 whole or in part, a stated subject matter.

         7.      Document. The term "document" is defined in the broadest possible sense and

 includes, without limitation, any and all writings, personal notes, electronic mail or e-mail, texts,

 social media content (Facebook, lnstagram, Snapchat, Twitter, TikTok, WhatsApp or other

 instant messaging platforms, including posts, comments or direct messages), materials hosted on

 cloud-based software such as iCloud or other internet based storage platforms, photos, videos,

 screenshots, files, voicemails, voice recordings, notes, contacts, facsimiles, studies, calendars,

 day-timers, diaries, appointment books, agendas, minutes, notes, instructions, demands,

 schedules, data, notices, drafts, pamphlets, envelopes, bulletins, graphs, maps, charts, sketches,

 diagrams, drawings, plans, specifications, blueprints, forms, manuals, contracts, agreements,

 appraisals, summaries or records of telephone conversations, summaries or records of personal

 conversations or interviews, summaries, records or minutes of meetings or conferences, lists,

 publications, journals, ledgers, memoranda, notepads, notebooks, postcards, "post-it" notes,

 tabulations, analyses, evaluations, opinions or reports of consultants or experts, projections, work

 papers, summaries, reports, surveys, studies, logs, message slips, billing records, invoices,

 purchase orders, checks (front and back), confirmations, correspondence, letters, brochures,

  advertising, packaging or promotional materials, financial or statistical statements or

  compilations, balance sheets, accounting entries, tax returns, loan documents, publications,

  articles, books, speeches, transcripts, films, computer programs, printouts, computer disks or

  diskettes, hard drives, USB drives, software, cell phone backups and all recordings made through

  data processing and/or computer techniques, and the written information necessary to understand

  and use such materials, and all other written or graphic material of any nature whatsoever, in




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 Pacers Basketball, LLC's possession, custody or control. A draft or non-identical copy is a

 separate document within the meaning of this term. A document includes all attachments,

 whether by staple, clip, rubber band, or binding, and all appended or embedded links or files.

        8.      Representative. The term "Representative" means any person acting on behalf

 of a person, organization, or association whether that person has actual, implied, or apparent

 authority to act on that organization's or person's behalf.

        9.      Pacers. Unless otherwise specified, the tenn "Pacers" refers to the National

 Basketball Association ("NBA") team the Indiana Pacers, based in Indianapolis, Indiana, its

 affiliated NBA G League team the Fort Wayne Mad Ants, based in Fort Wayne, Indiana, and any

 coach, manager, trainer, or other staff of the Indiana Pacers or Fort Wayne Mad Ants.

        10.     Tense. The present tense includes the past and future tenses.

         11.    If any portion of a document is considered responsive to any request, the request

 shall be construed as requesting production of the entire document.

         12.    Except for these instructions and when express reference is made to another

 paragraph, each paragraph herein should be construed independently and not by reference to any

 other paragraph herein for purpose of limitation.

         13.    Any and all examples or descriptions of documents herein are illustrative only and

 do not limit the request to those particular documents or types of documents, as if it were

 explicitly noted that such request was "not limited to" the stated examples.

         14.    Questions regarding the interpretation of these document requests should be

 resolved in favor of the broadest possible construction.

         15.    Responsive documents are to be produced as they have been kept in the ordinary

 course of business or shall be organized and labeled to correspond with the enumerated requests




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 in this demand. In the event Pacers Basketball, LLC produces copies of the responsive

 documents, Pacers Basketball, LLC is requested to retain the originals of all such documents for

 inspection. All attachments and appended or embedded links or files shall be produced if any

 one of them is responsive to any of these document requests. If Pacers Basketball, LLC

 possesses no responsive documents with respect to any request, please so state in writing.

         16.    All electronically stored information that Pacers Basketball, LLC ordinarily

 maintains in digital or electronic form, other than e-mail, is to be produced in the form in which

 it ordinarily is maintained, with the exception of e-mail as set forth below. All such

 electronically stored information shall include any and all associated metadata and any and all

 associated files, including but not limited to, attachments or hyperlinked files.

         17.    All e-mails, text messages, instant messages, direct messages, or other messages,

 Microsoft Word or other word processing documents, and non-electronically stored information

 (paper documents) shall be produced as single-page TIFF images with load files. All other

 electronically stored information shall be produced in its native format, including but not limited

 to, all Excel or other spreadsheet files and all PowerPoint or other presentation files. All

 Documents shall include, as applicable, the following metadata fields: PRODBEG, PRODEND,

 BEGATTACH, ENDATTACH, CUSTODIAN, NUMPAGES, DOCTYPE, FOLDERPATH,

 FROM, TO, CC, BCC, SUBJECT, DATESENT, TIMESENT, DATERECEIVED,

 TIMERECEIVED, TIMEWNE, INTERNETMSGID, MESSAGEID, DATECREATED,

 TIMECREATED, LASTMODIFIED, AUTHOR, FILESIZE, FILENAME, APPLICATION,

 FILEEXT, FILEPATH, NATIVELINK, TEXTLINK, and HASHVALUE. An e-mail and its

 attachments shall be produced as separate records. The attachment(s) should immediately follow

 the parent email. The parent/child relationship between email and attachment(s) is to be




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  maintained by properly providing the BEGATIACH and ENDATIACH metadata. Any

  attachments to an e-mail shall be produced in native format, and shall include all associated

  metadata. Images should be provided in I-Bit B&W Group N Single Page Tiffs (300 DPI), and

  color images in single page .JPG format when color is necessary. Extracted text should be

  provided on a document level. A rendering of the email shall be provided in static format that

  corresponds to the text format of the original e-mail (i.e., plain text e-mails rendered as .txt files,

  rich text e-mails rendered as .rtffiles and .html e-mails rendered as .html files). Any encryption

  or password protected files should have the protection removed prior to being produced.

          18.     If any document or part of a document responsive to this request is withheld under

  a claim of privilege, work-product immunity, or other claimed privilege or protection :from

  discovery, Pacers Basketball, LLC shall furnish a privilege log of the responsive documents in a

  form to be agreed by Pacers Basketball, LLC and adidas.

          19.     If part of an otherwise responsive document contains information that is subject to

  a claim of privilege, those parts of the document subject to the claim of privilege shall be deleted

  or redacted from the document, the deleted or redacted parts shall be clearly mmked as such, and

  the rest of the document shall be produced.

          20.     In responding to this document request, Pacers Basketball, LLC shall furnish all

  documents within its custody or control, wherever located, including documents in the

  possession of attorneys, Representatives, agents or other persons acting on its behalf. If Pacers

  Basketball, LLC cannot respond to this document request in full after exercising due diligence to

  secure the documents requested, it shall so state and respond to the extent possible, specifying

  the nature of its inability to respond to the remainder.




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          2 I.    If any of these requests is objected to, Pacers Basketball, LLC shall serve a

 response in accordance with the Rules of Civil Procedure, stating with particularity the reasons

  for the objection, and shall produce the requested documents to the extent that the request is not

 objectionable.

          22.     If Pacers Basketball, LLC contends that a particular request, or a definition or an

 instruction applicable thereto, is ambiguous, it is requested to set forth in its written response the

  allegedly ambiguous language and the interpretation of that language that it has adopted in

  responding to the request in question.

          23.     The document requests that follow are to be continuing, and pursuant to the Rules

  of Civil Procedure, Pacers Basketball, LLC is requested to provide, by way of supplemental

  responses thereto, such additional documents as it or any persons acting on its behalf may

  hereafter obtain that will augment, clarify, or otherwise modify the response now given to these

  document requests. Such supplemental responses are to be served by Pacers Basketball, LLC's

  counsel immediately after the additional documents are discovered, but in no event later than

  thirty (30) days after such discovery. In no event shall any supplemental response be served any

  later than the first day of trial.

          24.      When a time period is not specified in a request, the time period shall be from

  January I, 2017, through present.

                                       REQUESTS FOR PRODUCTION

          I.       All documents created prior to July I, 2019, concerning Bowen Jr.'s prospects as

  a professional basketball player, including but not limited to any written evaluations or

  assessments, whether formal or informal, of(a) Bowen Jr.'s basketball skills, abilities,

  deficiencies, performance, or development potential; (b) the impact, if any, of Bowen Jr.' s lack




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 of experience playing college basketball; and/or (c) the impact, if any, of Bowen Jr. 's experience

 playing professional basketball for the Sydney Kings.

         2.      All documents created on or after August 24, 2020, concerning Bowen Jr. 's

 prospects as a professional basketball player, including but not limited to any written evaluations

 or assessments, whether formal or informal, of(a) Bowen Jr.'s basketball skills, abilities,

 deficiencies, performance, or development potential; (b) the impact, if any, of Bowen Jr.'s lack

 of experience playing college basketball; and/or (c) the impact, if any, of Bowen Jr.'s experience

 playing professional basketball for the Sydney Kings.

         3.      All documents relating to Bowen Jr.'s potential selection in the 2018 or 2019

 NBA draft.

         4.      A copy of the two-way player contract between the Pacers and Bowen Jr.

         5.      All documents concerning the Pacers' decision to sign Bowen Jr. to a player

  contract and/or the negotiations between the Pacers and Bowen Jr., or any Representative of

  Bowen Jr., relating to his contract.

         6.      All documents concerning interest by other NBA teams in signing Bowen Jr. to a

  player contract.

         7.      A copy of the contents of any employment record or file maintained for Bowen Jr.

         8.      All documents and communications relating to Bowen Jr.'s medical condition

  from 2018 to the present, including but not limited to, the results of any physical examinations,

  magnetic resonance imaging ("MRI") exams, X-rays, laboratory reports, or other medical tests.

          9.     Any document created on or after August 24, 2020, reflecting a desire to retain

  Bowen Jr. as a member of the Indiana Pacers or Fort Wayne Mad Ants.




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        10.     All documents concerning the Pacers' decision to extend, or not extend, a

 Qualifying Offer (as defined in the NBA/NBPA Collective Bargaining Agreement) to Bowen Jr.,

 or to enter into any other contract with Bowen Jr., for the 2020-2021 NBA season.

        11.     Documents sufficient to show the Pacers' assessment of the National Basketball

 League ("NBL''), including its views on the viability of playing basketball in the NBL as a path

 to the NBA.




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